        Case 2:18-cv-00927-ALB-SRW Document 2 Filed 10/30/18 Page 1 of 8



                         IN THE UNITED STATESpISMISTiq9VRT
                         FOR THE MIDDLE DISTRICT OF ALA—BAMA
                                     NORTHERNZWINIOS            A     53
                                              )
THOMAS HALLFORD,                              )
                                              )
            Plaintiff,                        )
                                              )
-vs-                                          ) Case No.
                                              )
CITY OF GREENVILLE,an                         ) JURY DEMAND
municipality,                                 )
                                              )
            Defendant.                        )
                                              )

                                     COMPLAINT
       Speech on public issues occupies the highest rung ofthe hierarchy of First.Amend.ment
       values and is entitled to special protection.

                   ---Snyder v. Phelps, 131 S.Ct. 1207, 1211,562 U.S. 443,444(U.S. 2011).

                                               I.
                                          Introduction

       1.    Thomas Hallford brings this action against the City of Greenville in Butler County,

 Alabama pursuant to 42 U.S.C. § 1983 for redress of wrongs committed by the Defendant, and

 for compensation for injuries arising out of the Defendant's intentional deprivation of his

 constitutionally protected rights under the First and Fourteenth Amendments to the United

 States Constitution as well as its violation of his rights under corollary provisions of the

 Constitution of the State of Alabama. Specifically, the Plaintiff sues the Defendant for its

 retaliation against him for the exercise of his freedom of political expression as a private

 citizen, for his commentary on social media, and his response to a comment posted on his

 personal and private Facebook page about a current event of inherent public concern and

 nationwide interest.
     Case 2:18-cv-00927-ALB-SRW Document 2 Filed 10/30/18 Page 2 of 8



    2.   The Defendant also has adopted an arbitrary and double standard by selectively

enforcing its policies with regard to employee use of social media. The severity of the penalty

imposed in this case — terrnination — was arbitrary and constitutes viewpoint discrimination.

The Defendant's arbitrary practice, custom, usage and policy have the effect of intentionally,

and without a rational basis, treating the Plaintiff differently from others who are similarly

situated and constitutes a violation of the Equal Protection Clause of the Fourteenth

Amendment.

   3.    Plaintiff seeks declaratory relief, nominal damages, compensatory damages and

reasonable attorney's fees and costs as permitted by 42 U.S.C.§.1988.



                                   Jurisdiction and Venue

   4.     Jurisdiction is vested in this Court to hear and decide all issues presented in this case

pursuant to 28 U.S.C. § 1331, 1343 and 1367, this case being predicated on a federal question

and the enforcement of certain federal constitutionally protected rights as guaranteed under the

First and Fourteenth Aniendments ofthe United States constitution.

   5.    The Court has the authority to grant declaratory relief under the Declaratory Judgment

Act, 28 U.S.C. § 2201 and 2202.

   6.     Venue is proper in this Court under 28 U.S.C.§ 1491(b), as the Plaintiff and the

Defendant reside or are situated within this federal district and the Defendant's wrongful

conduct took place within this federal district.
     Case 2:18-cv-00927-ALB-SRW Document 2 Filed 10/30/18 Page 3 of 8




                                           Parties
                                          Plaintiff
   7.    Thomas Hallford is an adult citizen and resident of Greenville, Butler County,

Alabama, and is a former employee ofthe City of Greenville, in Butler County, Alabama.

                                         Defendant
   8.    The City of Greenville in Butler County, Alabama is a local body politic and

municipality and exists under and by virtue ofthe laws ofthe State of Alabama.

                                             IV.
                                            Facts

   9.     Thomas Hallford was employed by the City of Greenville as a commissioned police

officer in November of 2017.

    10. The Plaintiff was assigned to funeral detail.

    11. While at the funeral, Officer Hallford witnessed a young man wearing a shirt that said,

"FUCK THE POLICE".

    12. The Plaintiff later post to his personal Facebook account, "Who wears shirts to a

funeral that shows their ignorance?" Later commenting on the post, "I just wonder if the family

supports their stupidity?"

   13. The Plaintiff was called into Mayor Dexter McLendon's office and told he was being

suspended for five(5)days without pay regarding the Facebook post to his personal account.

   14. On the fourth day of the Plaintiffs suspension, he was called back into Mayor

McLendon's office and told he was being fired.

   15. Other Officers of the Greenville Police Department have posted to their personal

Facebook accounts while on duty and in uniform, yet have not been discharged.


                                     Causes of Action

                                         COUNT I
     Case 2:18-cv-00927-ALB-SRW Document 2 Filed 10/30/18 Page 4 of 8



                                     42 U.S.C.§ 1983
               Violation of First Amendment of United States Constitution

    16. Plaintiff incorporates by reference herein as fully as though set forth verbatim the

allegations set forth in the preceding numbered paragraphs and does further allege as follows.

   17. The Defendant's decision to terminate the Plaintiff's employment was retaliatory in

nature and based, in whole or in part, on his personal exercise of his protected free speech

activity on a matter ofinherent public concern..

   18.    The Defendant's actions, as set forth herein, served to deprive the Plaintiff of, and to

infringe upon, his protected rights offreedom of expression as guaranteed by the First

Amendment ofthe United States Constitution.

    19.     As a proximate result ofthe Defendant's actions, the Plaintiff has suffered, and

continues to suffer, economic and pecuniary damages in the form of loss of earnings and the

destruction of his professional reputation and career in law enforcement. In addition, the

Plaintiff has suffered mental anguish, humiliation, embarrassment and emotional injury for

which he is entitled to an award ofcompensatory damages.

                                             COUNT II

                              Violation of Alabama Constitution
                                        Article I, Section 4

   20. Plaintiff incorporates by reference herein as fully as though set forth verbatim the

allegations set forth in the preceding numbered paragraphs and does further allege as follows.

   21. Article I § 4 ofthe Constitution ofthe State of Alabama provides as follows:


            Freedom ofspeech and press.

            That no law shall ever be passed to curtail or restrain the liberty of speech or of the press;
            and any person may speak, write, and publish his sentiments on all subjects, being
            responsible for the abuse of that liberty.
     Case 2:18-cv-00927-ALB-SRW Document 2 Filed 10/30/18 Page 5 of 8




   22. The Defendant's decision to terminate the Plaintiffs employment was retaliatory in

nature and based, in whole or in part, on his personal exercise of his protected free speech

activity on a matter ofinherent public concern.

   23. The Defendanfs actions, as set forth herein, served to deprive the Plaintiff of, and to

infringe upon, his protected rights of freedom of expression as guaranteed by the Constitution

ofthe State of Alabama.

   24. As a proximate result of the Defendant's actions, the Plaintiff has suffered, and

continues to suffer economic and pecuniary damages in the form of loss of earnings. In

addition, the Plaintiff has suffered mental anguish, humiliation, einbarrassment and emotional

injury for which he is entitled to an award of compensatory damages.

                                     COUNT III
                                Equal Protection Clause
             Of the Fourteenth Amendment of the United States Constitution

   25. Plaintiff incorporates by reference herein, as fully as though set forth verbatim the

allegations set forth in the preceding numbered paragraphs and does further allege as follows.

   26. The Equal Protection Clause of the Fourteenth Ainendment protects each person

against intentional, arbitrary government discrimination, whether based on a policy's express

terrns or improper implementation by govemment agents.

   27.    The Supreme Court has recognized successful equal protection claims brought by a

"class of one," in which a plaintiff alleges that the government has intentionally and without a

rational basis treated him differently from others who are siniilarly situated.

   28. The Defendant has selectively and arbitrarily enforced its City of Greenville

Personnel Policies and Procedures (CGPPP) Section 7 & 3.(See Exhibit A). The effect of the

Defendant's practice, custom and policy is to erect a double standard which discriminates

against the Plaintiff based on the content and viewpoint of his speech activity.
     Case 2:18-cv-00927-ALB-SRW Document 2 Filed 10/30/18 Page 6 of 8



   29. The Defendant's actions, as set forth herein, served to deprive the Plaintiff of, and to

infiinge upon, his protected rights of freedom of expression as guaranteed by the Equal

Protection Clause ofthe FOurteenth Amendment ofthe United States Constitution.

   30. As a proximate result of the Defendant's actions, the Plaintiff has suffered, and

continues to suffer economic and pecuniary damages in the form of loss of earnings. In

addition, the Plaintiff has suffered mental anguish, humiliation, embarrassment and emotional

injury for which he is entitled to an award of compensatory damages.

                                            COUNT IV

                                        Due Process Clause
                                Violation of Fourteenth Amendment

   31. Plaintiff incorporates by reference herein as fully as though set forth verbatim the

allegations set forth in the preceding numbered paragraphs and does further allege as follows.

   32. At the time of Plaintiffs terrnination, the Defendant inaintained CGPPP Section 7 &

3, which provides as follows:

   CGPPP,Section 7 - Performance Management(7.3.6)
   Group Two Offenses.

   A.        Conduct Unbecoming an Employee

   1.        The conduct unbecoming an employee while on or off duty, which tend to
   bring discredit upon the City or its employees or which otherwise threatens order,
   safety or health.

   CGPPP,Section 3 - General Policies (3.13.2.2)

   B.        Personal Cellular Telephones

   2.       If employees bring personal cell phones to work, these devices are to be
   used as determine.d by the Department Head and should not be a distraction to
   others. Abuse of cell phone usages will lead to disciplinary measures.

   65. Plaintiff alleges that this rule of conduct, as applied in the instant case, is

unconstitutionally vague and overbroad.

   66. In addition to being unconstitutionally vague, the Defendant's policy has the
         Case 2:18-cv-00927-ALB-SRW Document 2 Filed 10/30/18 Page 7 of 8



  impermissible effect of restricting the Plaintiffs constitutionally guaranteed right to freedom of

  expression.

     67. Plaintiff seeks declaratory judgment declaring this provision ofthe Defendant's policy

  unconstitutional.

                                         Request for Relief

                                       Declaratory Judgment

    1.    An actual controversy exists between the parties as to whether the Defendant's policies,

practices and customs with regard to the restrictions placed its employee's free speech activity as

expressed on the employee's personal social media are enforced in an arbitrary manner and

therefore violate the Plaintiffs constitutional rights. Plaintiff respectfully requests a declaratory

judgment that the actions of the City of Greenville in Butler County, Alabama violated the

federal and state constitutional rights ofthe Plaintiff.

                                      Compensatory Damages

   2.     Plaintiff seeks an order awarding compensatory damages for the Defendant's violation

of his federal and state constitutional rights in the amount of$2,000,000.

                                     Attorney's Fees and Costs

    3.    Plaintiff seeks an order awarding the costs of this cause, including attorney's fees, costs

and expenses under 42 U.S.C. § 1988.

                                            Jury Demand

   4.     Plaintiff demands a jury to hear and try this case.

                                            Other Relief

   5.     Plaintiff additionally requests such other relief as the Court deemsjust and proper.
       Case 2:18-cv-00927-ALB-SRW Document 2 Filed 10/30/18 Page 8 of 8



              PLAINTIFF REQUESTS TRIAL BY STRUCK JURY




                                          ATRICK L. HAY      R
                                         Attorney for Plai
                                         ASB-2301-C45H

OF COUNSEL:
THE HAYS LAW FIRM, LLC
415 E. Commerce St. Ste 201
Greenville, AL 36037
Telephone:(334)371-4297




          PLEASE SERVE DEFENDANT BY U.S. CERTIFIED MAIL AS FOLLOWS:

                              CITY OF GREENVILLE
                                DEE BLACKMON
                                  P.O. BOX 158
                              GREENVILLE,AL 36037
